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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


   UNITED STATES OF AMERICA                 )
                                            ) Case:        4:22-CR-168
                               Plaintiff(s) )
                     v.                     )
                                            ) Judge:       Kristine G. Baker
              Jeremiah Nuniss               )
           _________________________ )
                              Defendant(s) )


                  DEFENDANT’S MOTION TO CONTINUE JURY TRIAL

       COMES NOW, Jeremiah Nuniss, by and through their attorney, Christopher Baker of the

James Law Firm, for their Motion to Continue Jury Trial states as follows:

    1. This case is currently scheduled for jury trial on May 1, 2023 at 9:30 AM.

    2. Defense Counsel has verified with the Government that this motion is unopposed.

    3. The Government would request that the time be excluded. The Defense agrees with this

request.

    4. The time period for this delay should be excluded under 18 U.S.C. 3161(h)(7)(a). This

subsection applies because an order granted here would be at the request of the Defendant. Id. The

Defendant waives his right to a speedy trial for the duration of this continuance the additional time

caused by this motion is excludable under the Speedy Trial Act.

    5. To properly deconflict future scheduling, Defense Counsel would request an extension of

approximately (45) to (6o) days to deconflict with trials, hearings, and appearances already

scheduled.

    6. Defense Counsel is also aware of the importance of this Court’s time and calendaring and is

making his best effort to not “not obstruct orderly judicial procedure or deprive courts of their
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inherent power to control the administration of justice.” United States v. Vallery, 108 F.3d 155, 157

(8th Cir. 1997). To aid the Court in its current decision, Defense Counsel is providing supplemental

information to appropriately address the necessary factors in determining a continuance. See United

States v. Cordy, 560 F.3d 808 (8th Cir. 2009)(outlining the five relevant factors in a continuance as the

nature of the case, diligence of parties, conduct of the parties, effect and disadvantage of granting

the continuance, and the asserted need for the continuance.); see also 18 U.S.C. 3161(h)(B)(i) – (iv).

    7. This case facts relate to an alleged possession of a firearm by certain persons. An indictment

was filed in this case on June 8, 2022. The case has been continued by the Defense on one prior

occasion. This case is not extremely complex and does not have a significant number of

defendants, but Defendant believes that these factors do tip the scales in disfavor of their request.

    8. The Government has, thus far, fully cooperated in this matter and this request for

continuance is not based on their contributions or actions to this case.

    9. The effect of this continuance is multi-part. The initial effect is that the overarching public

interest in the prompt disposition of criminal cases is slightly extended. Next, the Court itself is

then affected whenever a previously scheduled item is adjusted or moved and availability on the

docket is reduced. Competing alongside these important interests, is the Defendant’s right to

counsel, and that counsel’s ability to provide effective assistance.

    10. With the prior interests in mind, Defense Counsel believes that the overall interest for all

parties is most appropriately served and balanced by providing additional time to review the

discovery and explore discussions between the Government and Mr. Nuniss relating to non-trial

outcomes.

    11. Defense Counsel has a duty to his client and this Court to inform them if would not be

prepared to proceed and to ask for a continuance. See e.g. United States v. Phifer, 511 F.2d 960, 1975

U.S. App. LEXIS 16206 (4th Cir. 1975). We recently obtained release of the client pre-trial
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supervision. The Defense would like an opportunity to review items with the Defendant in person.

Due to prior turnover at Defense Counsel’s firm, discovery was re-requested (and immediately

provided) by the Government on February 24, 2023. Defense Counsel requires additional time to

review the information received.

    12. Moreover, the request for continuance in this matter is not due to the fault of the

Defendant. Here, the Defendant has not made attempts to purposeful induce delay by changing

counsel or otherwise attempting to manipulate this Court’s calendar. c.f. United States v. Leavitt, 608

F.2d. 1290, 1979 (9th Cir. 1979).

    13. Finally, the asserted need for the continuance is to allow for effective representation of

Defense Counsel’s clients. Defense Counsel has brought this motion in good faith and with utmost

respect to the Court’s docket and continues to firmly believe that the ends of justice are most

honorably respected and served if a continuance is issued in this case.

    WHEREFORE, Defendant prays that this matter be continued and for all other proper relief.

 Dated: April 3, 2023                                 Respectfully submitted,

                                                      /s/ Christopher Baker

                                                      Christopher Baker, Esq.
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                                 CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of Defendant Jeremiah Nuniss’s above
motion was electronically filed and served on the Court’s electronic filing system. A copy of the
filing will be made to any parties not associated with the CM/ECF filing system.

 Dated: April 3, 2023                              Respectfully submitted,

                                                   /s/ Christopher Baker

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